Case 1:17-cv-00804-LPS-CJB Document 14 Filed 01/31/18 Page 1 of 1 PageID #: 40



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 DESHODAX LLC,                                    )
                                                  )
                  Plaintiff,                      )
                                                  )   C.A. No. 17-804-LPS-CJB
         v.                                       )
                                                  )   JURY TRIAL DEMANDED
 LENOVO (UNITED STATES), INC.,                    )
                                                  )
                  Defendant.                      )

                 STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED by the parties hereto, through their

undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that all claims asserted in this

action are dismissed with prejudice, with each party to bear its own costs and attorneys’ fees.

                                                      Respectfully submitted,

 DEVLIN LAW FIRM LLC                                  POTTER ANDERSON & CORROON LLP

 By:    /s/ Timothy Devlin                            By:   /s/ Stephanie E. O’Byrne
       Timothy Devlin (#4241)                               David E. Moore (#3983)
       1308 N. Broom Street, Suite 1                        Bindu A. Palapura (#5370)
       Wilmington, DE 19806                                 Stephanie E. O’Byrne (#4446)
       Tel: (302) 449-9010                                  Hercules Plaza, 6th Floor
       tdevlin@devlinlawfirm.com                            1313 N. Market Street
                                                            Wilmington, DE 19801
 Attorney for Plaintiff Deshodax LLC                        Tel: (302) 984-6000
                                                            dmoore@potteranderson.com
                                                            bpalapura@potteranderson.com
                                                            sobyrne@potteranderson.com

                                                      Attorneys for Defendant Lenovo (United
                                                      States), Inc.
 5614828/44331


IT IS SO ORDERED, this __________ day of ________________ 2018.


                                              __________________________________________
                                                          U.S.D.J./U.S.M.J.
